This is a motion to dismiss an appeal taken by certain interested parties from the order of court vacating the decree of final distribution theretofore granted in the matter of the estate of Lawrence Murphy, deceased, upon the ground that the order of vacation is not an appealable order.
That such an order is not an appealable order was decided by this court in Estate of Calahan, 60 Cal. 232. That decision has remained unquestioned and unchallenged for eighteen years. It has been consistently upheld by this court whenever the question has arisen. (Estate of Dean, 62 Cal. 613; Lutz v. Christy, 67 Cal. 457;  Estate of Cahalan, 70 Cal. 604; In re Wiard, 83 Cal. 619; Inre Bauquier, 88 Cal. 302-13; In re Walkerly, 94 Cal. 352; In reSmith, 98 Cal. 636; Iversen v. Superior Court, 115 Cal. 28;Estate of Wittmeier, 118 Cal. 255; Estate of Hickey, 121 Cal. 378. ) We are satisfied with the reasoning of these cases and the conclusions there expressed.
The appeal is therefore dismissed.